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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 IN RE                                           )
                                                 )    Chapter 11
 ALEXANDER E. JONES                              )
                                                 )    Case No. 22-33553 (CML)
                DEBTOR.                          )
                                                 )
                                                 )


              CERTIFICATE OF NO OBJECTION WITH RESPECT TO THE
              FINAL FEE APPLICATION OF CROWE & DUNLEVY, P.C. AS
               CO-COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
                    DECEMBER 02, 2022 THROUGH JUNE 14, 2024

         1.    On June 28, 2024, Crowe & Dunlevy, P.C. (“C&D”), as co-counsel to Alexander

E. Jones (“Debtor”) in in the above-captioned Chapter 11 Case, filed its Final Fee Application of

Crowe & Dunlevy, P.C. as Co-Counsel to the Debtor for the Period from December 02, 2022

Through June 14, 2024 [Doc. No. 746] (the “Application”).

         2.    The deadline for parties to file objections and responses to the Application was July

19, 2024 and extended to August 19, 2024 by agreement between the Trustee and the Debtor (the

“Objection Deadline”). No objections or responses to the Application were filed on the docket on

or before the Objection Deadline. C&D did not receive any other informal responses on or before

the Objection Deadline.

         3.    C&D hereby respectfully requests that the Court enter the proposed order on the

Application, attached as Exhibit A, at the earliest convenience of the Court.




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Dated: August 22, 2024.

                                    CROWE & DUNLEVY, P.C.

                                    By: /s/ Vickie L. Driver
                                    Vickie L. Driver
                                    State Bar No. 24026886
                                    Christina W. Stephenson
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                                    ATTORNEYS FOR DEBTOR ALEXANDER E.
                                    JONES




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                         EXHIBIT A

                        Proposed Order




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